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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------- X
                                                               :
                    In the Matter                              :   Chapter 7
                                                               :   Case No. 21-10699 (DSJ)
                          -of-                                 :
                                                               :
KOSSOFF PLLC,                                                  :
                                                               :
                                                               :
                                            Debtor.            :
                                                               :
-------------------------------------------------------------- X

              CHAPTER 7 INTERIM TRUSTEE’S MOTION FOR AN ORDER
          COMPELLING AMERICAN NATIONAL LIFE INSURANCE COMPANY
          OF NEW YORK TO COMPLY WITH BANKRUPTCY RULE 2004 ORDER
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TO THE HONORABLE DAVID S. JONES,
UNITED STATES BANKRUPTCY JUDGE:

               Albert Togut, not individually, but solely in his capacity as the Chapter 7

Interim Trustee (the “Trustee”) of Kossoff PLLC (the “Debtor”) in the above-captioned

case, by and through his attorneys, Togut, Segal & Segal LLP (the “Togut Firm”),

respectfully submits this application (the “Motion”) for entry of an order, substantially

in the form attached hereto as Exhibit “A” (the “Proposed Order”), pursuant to section

105(a) of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 2004 and

9016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”): (i)

compelling the American National Life Insurance Company of New York (“American

National”) to comply with this Court’s Order Authorizing Trustee to Issue Subpoenas and

Obtain Testimony and for Injunctive Relief [Docket No. 27] (the “Rule 2004 Order”) by (a)

producing to the Trustee all documents responsive to the Subpoena (as defined below),

and (b) appearing upon ten (10) days prior written notice by the Trustee, to testify

under oath pursuant to Bankruptcy Rule 2004; and (ii) in the event that American

National fails to fully comply with the Proposed Order, authorizing the Trustee to

submit a proposed order to show cause scheduling a hearing to consider entry of a

further order holding American National in civil contempt and imposing coercive civil

sanctions. In support of the Motion, the Trustee submits the Declaration of Neil Berger

of the Togut Firm, attached hereto as Exhibit “B” (the “Declaration”), and respectfully

represents:


                              PRELIMINARY STATEMENT

               Since his appointment, the Trustee has undertaken the critically important

work of trying to resolve the affairs of the Debtor’s estate. This effort has been impeded

by the improper demands of Mitchell H. Kossoff (“Kossoff”) for a grant of immunity in


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exchange for his cooperation. As a result, the Trustee’s subpoenas to third-parties are

particularly important to his effort to investigate the Debtor’s affairs and administer this

estate.

               The Debtor is identified as the owner of at least one American National

life insurance policy covering Kossoff. In the absence of explanations from Kossoff

concerning the payments associated with this policy or potentially other policies, the

Trustee issued a subpoena (the “Subpoena”) to American National to determine

whether the policy or policies can be administered for the benefit of the Debtor’s estate.

               However, notwithstanding service of the Subpoena to American National

pursuant to the Rule 2004 Order, and the Trustee’s subsequent written demand for

compliance, American National has failed to respond to the Trustee’s Subpoena.

               For the reasons set forth herein, the Trustee respectfully requests entry of

an order, substantially in the form annexed hereto as Exhibit “A,” compelling American

National to fully comply with the Rule 2004 Order.


                                       JURISDICTION

               1.       This Court has jurisdiction over this case and this Motion pursuant

to 28 U.S.C. §§ 157 and 1334. This is a core proceeding within the meaning of 28 U.S.C.

§§ 157(b)(2)(A), (E) and (O). Venue is proper in this district pursuant to 28 U.S.C.

§§ 1408 and 1409.

               2.       The predicates for this Motion are section 105(a) of the Bankruptcy

Code and Bankruptcy Rules 2004 and 9016.




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                                 FACTUAL BACKGROUND

I.     The Debtor’s Bankruptcy Case

               3.       On April 13, 2021, certain creditors of the Debtor filed an

involuntary petition for relief under Chapter 7 of the Bankruptcy Code (the

“Involuntary Petition”) against the Debtor in the above-captioned case (the “Chapter 7

Case”).

               4.       The Debtor did not appear in response to the Involuntary Petition,

and on May 11, 2021, this Court entered the Order for Relief and Order to File Schedules

and Other Documents [Docket No. 14] (the “Order for Relief”).

               5.       The Order for Relief directs the Debtor to file “all schedules,

statements, lists and other documents that are required under the Federal and Local

Rules of Bankruptcy Procedure” (the “Schedules”) no later than May 25, 2021 [Docket

No. 14].

               6.       On May 12, 2021, Mr. Togut was appointed as the Chapter 7

Interim Trustee of the Debtor, accepted his appointment, and duly qualified.

               7.       The Debtor has not yet filed any of the Schedules, and Kossoff has

failed to do so or to otherwise cooperate with the Trustee notwithstanding entry of

orders requiring him to do so [Docket Nos. 93, 137].

II.    The Trustee’s Rule 2004 Motions and Related Orders

               8.       On May 24, 2021, the Trustee filed the Chapter 7 Interim Trustee’s Ex

Parte Application for an Order (I) Directing the Preservation of Documents and Recorded

Information and (II) Authorizing the Issuance of Subpoenas for the Production of Documents

and Depositions Testimony Pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure [Docket No. 26] (the “Rule 2004 Motion”).




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               9.       On May 24, 2021, the Court entered the Rule 2004 Order, which

authorized, inter alia, the Trustee “to issue subpoenas for the production of all books,

records and documents . . . related to the Debtor or its property concerning or otherwise

evidencing the Debtor’s assets and financial affairs . . . .” Docket No. 27.

               10.      On May 26, 2021, counsel for the Debtor, Kossoff, and Kossoff’s

affiliated entity Tenantracers, LLC filed an opposition to the Rule 2004 Motion,

asserting that “Mr. Kossoff intends to invoke his Fifth Amendment privilege against

self-incrimination and will refuse to answer questions that may tend to incriminate

him.” See Docket No. 30 at p. 2. He also asserted that “Mr. Kossoff alone would be the

only person to properly identify, collect, describe and submit documents to the

Bankruptcy Court or its Trustee. Id. at p. 3.

               11.      Pursuant to the Order Scheduling Final Hearing to Consider Injunctive

Relief [Docket No. 33], the Court held a final hearing to consider the injunctive relief

sought by the Trustee on June 10, 2021. Later that day, the Court entered the Final Order

Granting Injunctive Relief [Docket No. 62] and required all parties in possession of

records concerning the Debtor’s affairs to maintain, and not alter or destroy, those

records subject only to such custodians’ turnover obligations pursuant to a subpoena or

a further order of this Court.

III.   The Trustee’s Attempts to Obtain Discovery from the Debtor’s Sole
       Managing Member

               12.      On May 28, 2021, the Trustee filed the Application for an Order (A)

Designating Mitchell H. Kossoff as the Responsible Officer of the Debtor and (B) Compelling

Him to (1) Produce Information Requested by the Chapter 7 Trustee; (2) Appear for

Examinations Under Oath at the Bankruptcy Code Section 341 Meeting of Creditors; and (3)

Otherwise Cooperate with the Chapter 7 Trustee [Docket No. 36].



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                 13.     On June 25, 2021, the Court entered the Order Designating Mitchell

H. Kossoff as the Responsible Officer of the Debtor [Docket No. 93], which provides that

“Kossoff is designated as the person responsible for performing the Debtor’s duties in

this case . . . .”

                 14.     On August 5, 2021, the Court entered the Order Compelling Mitchell

H. Kossoff to (1) Produce Information and Documents Required by the Chapter 7 Trustee; (2)

Appear for Examination at Section 341 Meetings of Creditors; and (3) Otherwise Cooperate

with the Chapter 7 Trustee [Docket No. 137] (the “Order to Compel”). Among other

things, the Order to Compel required Kossoff to produce the Debtor’s Schedules within

fourteen days or file a written report with the Court explaining the reason for such

failure. As of the date hereof, Kossoff has failed to comply with the Order to Compel.

                 15.     On August 18, 2021, Kossoff filed a Motion for Leave to Appeal

[Docket No. 145], seeking to appeal the Order to Compel. That same day, Kossoff filed

the Notice of Filing of Report Pursuant to August 5th Order [Docket No. 146], which

concerned Kossoff’s failure to comply with the Order to Compel and requested that the

appeal be resolved before Kossoff is compelled to comply with the Order to Compel.

                 16.     The following day, on August 19, 2021, Kossoff’s criminal counsel

filed the Debtor’s Motion for Limited Stay Pending Appeal of the August 5, 2021 Order

Holding the Fifth Amendment Privilege Against Self Incrimination Inapplicable to Debtor and

Compelling Mitchell Kossoff to Create Documents, to Appear at Examination at the Creditor

Committee Hearing, and to Produce Documents and Other Information [Docket No. 147],

seeking to stay the Order to Compel pending the appeal.

IV.     The Trustee’s Subpoenas

                 17.     Because Kossoff has failed to fully cooperate with the Trustee to

date, third-party document production is essential to the Trustee’s investigation of the


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Debtor’s affairs and the identification of property that may be administered. To date,

the Trustee has served dozens of subpoenas to individuals and entities that are believed

to have relevant information concerning the Debtor.

               18.   On June 10, 2021, the Trustee served the Subpoena upon American

National because documents that have been recovered by the Trustee indicate that

American National issued a life insurance policy covering Kossoff, and funds used to

obtain and maintain that policy (or policies) may have emanated from the Debtor’s

bank accounts. See Decl. at ¶ 4. The Subpoena required the production of responsive

documents by June 21, 2021 (the “Production Deadline”). See Decl. Ex. 1.

               19.   American National failed to respond to the Subpoena on or before

the Production Deadline. See Decl. at ¶ 7.

               20.   On July 2, 2021, the Trustee sent a written demand to American

National seeking the production of documents responsive to the Subpoena within ten

days. See Decl. Ex. 3. American National has failed to respond to the Trustee’s written

demand. See Decl. at ¶ 10.


                                 RELIEF REQUESTED

               21.   The Trustee seeks entry of the Proposed Order: (i) compelling the

American National to comply with the Rule 2004 Order and the Subpoena by:

(a) producing to the Trustee all documents responsive to the Subpoena not later than

ten (10) days after entry of the Proposed Order, and (b) appearing upon ten (10) days

prior written notice by the Trustee, to testify under oath pursuant to Bankruptcy Rule

2004; and (ii) in the event that American National fails to fully comply with the

Proposed Order, authorizing the Trustee to submit a proposed order to show cause for




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a further order holding American National in contempt and imposing coercive civil

sanctions until full compliance with the Subpoena has been made.


                                      BASIS FOR RELIEF

               22.    This Court has the express authority to compel compliance with its

orders. In re River Ctr. Holdings, LLC, 394 B.R. 704, 711 (Bankr. S.D.N.Y. 2008) (“[S]ection

105(a) plainly may be used ‘to enforce and implement’ earlier orders.”); see also NWL

Holdings, Inc. v. Eden Ctr., Inc. (In re Ames Dept. Stores, Inc.), 317 B.R. 260, 273-74 (Bankr.

S.D.N.Y. 2004) (“[I]t is manifestly proper . . . to invoke section 105(a) ‘to enforce or

implement’” earlier orders, and such power to enforce has been consistently

recognized); U.S. Lines, Inc. v. GAC Marine Fuels, Ltd. (In re McLean Indus.), 68 B.R. 690,

695 (Bankr. S.D.N.Y. 1986) (“The duty of any court to hear and resolve legal disputes

carries with it the power to enforce the order.”).

               23.    Further, Bankruptcy Rule 2004 provides a separate and

independent basis for compelling compliance. Bankruptcy Rule 2004 states that the

production of documents “may be compelled as provided in Rule 9016.” Bankruptcy

Rule 9016 provides that Federal Rule 45 applies in cases under the Bankruptcy Code.

               24.    Both section 105(a) of the Bankruptcy Code and Federal Rule 45

also provide independent bases for a finding of contempt and sanctions.

               25.    Pursuant to section 105(a) of the Bankruptcy Code, the Court has

the authority to hold a party in contempt, In re Dickerson, No. 08-33071, 2009 WL

4666457, at *9 (Bankr. N.D.N.Y. Dec. 8 2009), which “inherently include[s] the ability to

sanction a party.” Id. at *9 (internal quotations omitted) (quoting In re Nosek, 544 F.3d

34, 43-44 (1st Cir. 2008)); see also Fatsis v. Braunstein (In re Fatsis), 405 B.R. 1, 11 (B.A.P.




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1st Cir. 2009) (upholding bankruptcy court’s imposition of sanctions); In re Thompson,

No. 06-32622, 2007 WL 2406886, at *2 (Bankr. N.D.N.Y. Aug. 21, 2007).1

                26.      Alternatively, Federal Rule 45 provides that the “court may hold in

contempt a person who, having been served, fails without adequate excuse to obey the

subpoena or an order relating to it.” When finding contempt, courts determine whether

“the subpoena was clear and unambiguous, there is a clear and convincing proof of

non-compliance, the recipient did not attempt to comply with reasonable diligence, and

that the recipient is given the notice and opportunity to be heard.” In re Parikh, 397 B.R.

518, 527 (Bankr. E.D.N.Y. 2008) (holding subpoenaed party in contempt for failing to

comply with subpoena issued pursuant to Bankruptcy Rule 2004); see In re Corso, 328

B.R. 375, 385 (Bankr. E.D.N.Y. 2005) (same); In re Consolidated Meridian Funds, No. 10-

17952, 2013 WL 1501636, at *12 (Bankr. W.D. Wash. Apr. 5, 2013) (same).

                27.      In this case, the Court approved the issuance of the subpoenas and

retained jurisdiction for all matters regarding the implementation of the Rule 2004

Order. In addition, the terms of the Subpoena are clear and unambiguous and

American National has not, and cannot, advance any claim of ambiguity.

                28.      American National has failed to respond or object to the Subpoena,

and it has not moved to quash the Subpoenas. By ignoring the Subpoena, American

National has knowingly defied the authority of this Court and its Rule 2004 Order, and

it is impeding the Trustee’s efforts to investigate the Debtor’s financial affairs.


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    “Sanctions stem, in part, from a need to regulate [the] conduct” of persons before the court. Fatsis,
    405 B.R. at 10 (quoting Goya Foods, Inc. v. Wallack Mgmt. Co., 344 F.3d 16, 19 (1st Cir. 2003)). “Thus,
    setting the amount of an effective sanction may include punitive concerns as well as considerations
    of deterrence.” Fatsis, 405 B.R. at 10-11. “When fashioning a civil contempt sanction . . . [the] court
    ‘has broad discretion to design a remedy that will bring about compliance.’” In re Butler Innovative
    Solutions, Inc., No. 08-00065, 2008 WL 5076980, at *1 (Bankr. D. Dist. Col. Sept. 29, 2008) (citation
    omitted).




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               29.   In the event that American National continues to fail to comply

with the Subpoena and to ignore the Court’s Rule 2004 Order, the Trustee requests that

the Court permit the Trustee to submit a proposed order to show cause seeking a

further order holding American National in contempt and imposing sanctions as “a

remedial device intended to achieve full compliance with [the] court’s order.” In re

Butler, No. 08-00065, 2008 WL 5076980, at *1.

               30.   Based upon all of the foregoing, the Trustee respectfully requests

that the Court enter the Proposed Order compelling American National to comply with

the Rule 2004 Order and the Subpoena.


                                         NOTICE

               31.   Notice of this Motion has been given to: (i) American National;

(ii) the United States Trustee; (iii) the Manhattan District Attorney’s Office; and (iv) all

of the parties that filed a Notice of Appearance in this case. The Trustee respectfully

requests that the Court find that such notice is sufficient and that no other or further

notice of the relief requested herein is necessary or appropriate.


                                     CONCLUSION

               WHEREFORE, for the reasons set forth herein, the Trustee respectfully

requests that the Court enter the Proposed Order: (a) compelling American National to

comply with the Rule 2004 Order and the Subpoena by (i) producing to the Trustee all

documents responsive to the Subpoena, and (ii) appearing upon ten (10) days prior

written notice by the Trustee, to testify under oath pursuant to Bankruptcy Rule 2004;

and (b) in the event that American National fails to fully comply with the Proposed

Order, authorizing the Trustee to submit a proposed order to show cause seeking a

further order holding American National in contempt of court and imposing coercive


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sanctions, and provide such other and further relief as this Court deems just and

proper.

Dated: New York, New York
       August 27, 2021

                                         Respectfully submitted,

                                         ALBERT TOGUT, not individually but
                                         solely in his capacity as Chapter 7 Interim
                                         Trustee
                                         By His Attorneys,
                                         TOGUT, SEGAL & SEGAL LLP
                                         By:

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